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UNITED STATES BANKRUPTCY COURT STEVEN M. LARMORE
SOUTHERN DISTRICT OF FLORIDA Ener AH
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MIAMI DIVISION tc
MANUEL L. MATIENZO, CASE No. 10-22021-CIV-HUCK/O’ SULLIVAN

Plaintiff,
VS.

MIRAGE YACHT, LLC,

Defendant.
/

 

DEFENDANT’S MOTION TO DISMISS'

Defendant Mirage Yacht, LLC (“Mirage Yacht”), by and through undersigned counsel
and pursuant to Federal Rules of Civil Procedure 9(b) and 12(b)(6), hereby files this Motion to
Dismiss directed at the Complaint filed by the Plaintiff, Manuel L. Matienzo (“Matienzo”), and
in support thereof states as follows:

ARGUMENT
1. Generally Standards For Dismissal

Pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, a party may move to
dismiss a complaint or part thereof for “failure to state a claim upon which relief may be
granted.” A complaint is subject to dismissal under Rule 12(b)(6) where it is clear that plaintiff
cannot prove any set of facts that would support the claims alleged in the complaint. Next
Century Communications Corp. v. Ellis, 318 F.3d 1023, 1024 (11" Cir. 2003).

In disposing of a motion to dismiss under Fed.R.Civ.P. 12(b)(6), the Courts are generally
obliged to accept the allegations set forth in a complaint or counterclaim as true. Neitzke v.

Williams, 490 U.S. 319, 326, 109 S.Ct. 1827, 104 L.Ed.2d 3 (1989). However, only well-pled

 

'This Motion seeks dismissal of Counts II-IV of the Complaint. It should be noted that Count V ultimately
seeks relief against an unserved and un-named Co-Defendant and is therefore inapplicable to Mirage Yacht.
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facts and reasonable inferences drawn therefrom are accepted as true. Oladeinde v. City of
Birmingham, 963 F.2d 1481, 1485 (11 Cir. 1992). Moreover, “conclusory allegations,
unwarranted deductions of fact or legal conclusions masquerading as facts will not prevent
dismissal.” Ellis, 318 F.3d at 1024; see also Oxford Asset Management v. Jaharis, 297 F.2d
1182, 1188 (11" Cir. 2002); (same); South Florida Water Management District v. Montalvo, 84
F.3d 402, 406 (11" Cir. 1996) (same).

In order to avert dismissal, a complaint must contain sufficient factual allegations “to
give the defendant[s] fair notice of what plaintiff's claim is and the grounds upon which it rests.”
Conley v. Gibson, 355 U.S. 41, 47, 78 S.Ct. 99, 102, 2 Ed.L.2d 80 (1957); see also Aquatherm
Industries, Inc. v. Florida Power & Light Co., 145 F.3d 1258, 1261 (11™ Cir. 1998) (same);
Lombard’s, Inc. v. Prince Manufacturing, Inc., 753 F.2d 974, 975 (11" Cir. 1985) (same). “[A]
complaint will be dismissed as insufficient where the allegations it contains are vague. . . .”
Fullman v. Graddick, 733 F.2d 553, 556-57 (11" Cir. 1984).

Moreover, “a complaint must contain sufficient factual matter, accepted as true, to ‘state
a claim to relief that is plausible on its face.” Ashford v. Iqbal, 129 S.Ct. 1937, 1949
(2009)(quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “Determining whether a
complaint states a plausible claim for relief [is] ... a context-specific task that requires the
reviewing court to draw on its judicial experience and common sense.” /d. at 1950 (citing Iqbal
v. Hasty, 490 F.3d 143, 157-58 (2d Cir. 2007)). In the event the complaint proffers "enough fact
to raise a reasonable expectation that discovery will reveal evidence" supporting the claim, there
is a "plausible" ground for recovery and thus a Rule 12(b)(6) motion to dismiss should be

denied. Twombly, 550 U.S. at 556.
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Il. Counts IJ & IH Of The Complaint For Fraudulent Inducement And Negligent
Misrepresentation Are Insufficient As A Matter Of Law And Must Be Dismissed

To prove actionable misrepresentation under Florida law, “it must be shown that (1) there
was a misrepresentation of material fact; (2) the representer either knew of the
misrepresentation, made the misrepresentation without knowledge of its truth or falsity, or
should have known the representation was false; (3) the representer intended to induce another to
act on the misrepresentation; and (4) injury resulted to a party acting in justifiable reliance upon
the misrepresentation.” Baggett v. Electricians Local 915, 620 So.2d 784, 786 (Fla. 2d DCA
1993). Counts II & III of the Complaint must be dismissed because Plaintiff has failed to
properly state a claim for intentional or negligent misrepresentation under the applicable law.

A. Counts I & III Must Be Dismissed Because Fraud Has Not Been Pled With
The Requisite Particularity

Unlike the relaxed pleading requirements contained in Rule 8, Federal Rule of Civil
Procedure 9(b) sets forth a heightened pleading requirement by mandating that “[iJn all
averments of fraud or mistake, the circumstances constituting fraud or mistake shall be stated
with particularity.” ‘The particularity rule serves an important purpose in fraud actions by
alerting defendants to the ‘precise misconduct with which they are charged’ and protecting

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defendants against spurious charges of immoral and fraudulent behavior.’” Durham v. Bus.
Mgm't Assocs., 847 F.2d 1505, 1511 (11" Cir. 1988)(quoting Seville Indus. Mach. Corp. v.
Southmost Mach. Corp., 742 F.2d 786, 791 (3d Cir. 1984)).

The Eleventh Circuit has held that in order to satisfy the requirements of Rule 9(b), a
complaint must set forth “(1) precisely what statements were made in what documents or oral
representations or what omissions were made, and (2) the time and place of each such statement

and the person responsible for making (or in the case of omissions, not making), same, and (3)

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the content of such statements and the manner in which they misled the plaintiff, and (4) what
the defendants obtained as a consequence of the fraud.” Ziemba v. Cascade Int'l, Inc., 256 F.3d
1194, 1202 (11th Cir. 2001) (quoting Brooks v. Blue Cross & Blue Shield, 116 F.3d 1364, 1371
(11° Cir. 1997) (emphasis added). Dismissal of Counts II and III is warranted in this case
because the Plaintiff has run afoul of the strictures of Rule 9(b).

First, a perusal of Matienzo’s Complaint reveals that the lone allegation regarding any
misrepresentation purportedly made in this case consists of a statement made by the Principal of
Mirage Yacht that “Mirage Yacht had the capability, experience, and ability to build the 61’
Sports Fisherman Motor Vessel sought by the Plaintiff’ (the “Alleged Misrepresentation”).
Complaint at §7. Rule 9(b) has been violated because Matienzo has failed to set forth in his
Complaint “precisely what statements” were made, as required by the Eleventh Circuit. The
Alleged Misrepresentation is not precise at all, but instead is general, vague and imprecise.
Nothing is advanced specifically precisely detailing what was purportedly stated as far of the
specific claims of experience and ability allegedly made.

Second, Matienzo’s Complaint violates Rule 9(b) by failing to include the requisite
allegations as to the time and place the Alleged Misrepresentation was made. Matienzo’s
violations of Rule 9(b) requires the dismissal of Count II & III of the Complaint, although
Plaintiff “is entitled to one chance to amend the [C]omplaint and bring it into compliance with
the rule.” Cooper v. Blue Cross & Blue Shield of Fla. Inc., 19 F.3d 562 (11" Cir. 1994).

B. Counts II & III Must Be Dismissed Because The Four Corners Of The

Complaint Establish That Matienzo Did Not And Could Not Have
Reasonably Or Justifiably Relied On The Alleged Misrepresentation
A review of Contracts attached by Matienzo as exhibits to the Complaint reveals that

they contain the following provision:
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This document and the terms contained herein form the complete
and exclusive statement of the parties’ agreement and supersedes
all prior understandings, transactions and communications, either
oral or written, with respect to the sale of the above-described
yacht... No agent, employee, or representative of the dealer has
any authority to bind manufacturer to any affirmation,
representation or warranty concerning this Yacht sold under
agreement. Unless an affirmation, representation or warranty
made by an agent, employee or representative is specifically stated
in this written agreement, it has formed a formed a part of the basis
of the bargain and shall be void and unenforceable against the
manufacturer.

Dismissal is warranted because this provision negates any possibility that Plaintiff reasonably or

justifiably relied on the Alleged Misrepresentation.

To state a cause of action for fraud under Florida law, a plaintiff must allege in the
complaint that he reasonably or justifiably relied on the purported fraudulent misrepresentations.
Avila South Condomium Association v. Kappa Corporation et al., 347 So.2d 599, 604 (Fla.
1976) (“It is also unnecessary, in alleging fraud in the inducement, for the plaintiff to plead that
he was ‘precluded’ from discovering the truth as to the misrepresented facts, so long as the
complaint alleges reasonable reliance on material representations of existing fact.”) (emphasis
added); Peninsular Florida District Council v. Pan American Investment and Development
Corp., 450 So.2d 1231, 1232 (Fla. 4" DCA 1984)(same); see also, e.g., Fote v. Reitano, 46 So.2d
891, 892 (Fla. 1950) (“[S]ince reliance upon a false representation is an essential element of the
plaintiff's cause of action, the plaintiffs must prove that they were justified in relying upon the
false representation, that they did rely upon the false representation, and that they acted upon it
to their injury. In measuring the right to rely upon such representation, it has been said that

every person must use reasonable diligence for his own protection.”)(emphasis added); Baggett

v. Electricians Local 915, 620 So.2d 784, 786 (Fla. 2d DCA 1993) (“To prove negligent
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misrepresentation, it must be shown that ... injury resulted to a party acting in justifiable reliance
upon the misrepresentation)(emphasis added); Roberts v. Riviera, 458 So.2d 786, 788-89 (Fla. 5m
DCA 1984) (buyers must show they “reasonably relied”) (emphasis added); Butts v. Drastrem,
349 So.2d 1205, 1206-07 (Fla. 1 DCA 1977) (plaintiff asserting fraud claim pursuant to Florida
common law is required to show “that he was justified in relying upon the truth of the
statement”)(emphasis added); First Union Brokerage v. Milos, 717 F.Supp. 1519, 1524-1525
(S.D. Fla. 1989).

On more than one occasion, the Florida Supreme Court has held that the issue of whether
an actionable fraud has been committed turns on whether the plaintiff can be said to have had the
right to rely on the purported misrepresentation in light of the surrounding circumstances:

Misrepresentation amounting to fraud that will invalidate a

contract must be made by one contracting party to another in

reference to a matter affecting the contract. The person to whom it

is made must not only believe the false representation to be true,

but must be situated to what is represented that he, at the time, has

the right to rely upon the truth of the representation... When

dehors a contract, a false representation cannot be said to have

induced its making, when it was so made as to carry on its face no

right on the part of anyone to rely on its credence.
Morris v. Ingraffa, 18 So. 1, 3 (Fla. 1944)(quoting Columbus Hotel Corp. v. Hotel Mgm’t Co.,
156 So. 893, 901 (Fla. 1934)). Dismissal is warranted in this case because, not only has
Matienzo failed to allege reasonable or justifiable reliance, any such allegation would necessarily
be negated by the provision in the underlying Contracts signed by Matienzo, whereby he agreed
that he was not relying on, and had no right to rely on any prior representations made to him in

connection with the transaction which were not specifically and expressly delineated and

included in the Contracts themselves.
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C. Dismissal Is Warranted Because The Alleged Misrepresentation Covers
Matters Of Opinion Rather Than Material Fact

 

Actionable misrepresentation under Florida law requires as its essential predicate a
“misrepresentation of material fact”. Baggett, 620 So.2d at 786. Counts II and III of the
Complaint are properly dismissed because the Alleged Misrepresentation advanced by Matienzo
as the sole basis of those Counts constitutes a non-actionable statement of opinion rather than an
actionable misrepresentation of material fact.

“It is, of course, well settled in Florida that in order to be actionable a fraudulent
misrepresentation must be of a material fact, rather than a mere opinion or misrepresentation of
law.” Chino Electric, Inc. v. U.S. Fidelity & Guaranty, 578 So.2d 320, 323 (Fla. 3d DCA 1991);
see also Hart v. Marbury, 90 So. 173, 176 (Fla. 1921) (“A mere statement of opinion, belief, or
expectation ... is not such a false representation as to constitute fraud.”); Travelodge Internat'l,
Inc. v. Easterns Inns, Inc., 382 So.2d 789 (Fla. 1 DCA 1980)(“Statements which are tantamount
to an estimate of opinion are not actionable unless the party making the representations does so
with an intent to prevent the party relying thereon from making an independent investigation of
the facts.”). “The underlying rationale for this rule is that in a commercial society such as ours,
people, with some exceptions, are generally expected to deal at arms’ length with one another-
which means that in the normal business transaction a person should not rely on such ephemeral
matters as an opposing party’s opinions, judgments, or legal views, but instead should rely on
more substantial matters, namely the opposing party’s representations of fact which are material
to the transaction.” Chino Electric, 578 So.2d at 323 (citing Prosser and Keeton on the Law of

Torts § 109, at 755, 759 (5" ed. 1984)).
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The Alleged Misrepresentation in this case, that Mirage Yacht “had the capability,
experience, and ability to build the 61' Sports Fisherman Motor Vessel sought by the Plaintiff’,
falls squarely into the category of non-actionable opinion, rather than actionable
misrepresentation of material fact. The mere fact that Plaintiff is unsatisfied with the quality of
the work done in this case, or the expediency of Defendants’ efforts, does not and cannot
transmogrify subjective opinion into misrepresentation of material fact.

D. Dismissal Is Warranted Because A Fraud Claim May Not Be Permissibly
Pursued Under The Circumstances

Where the damages being sought in a tort claim are the same as those arising from an
alleged breach of the underlying contract, a plaintiff may not circumvent the contractual
relationship by seeking to recover what are essentially breach of contract damages in a tort
action. See, e.g., Ginsberg v. Lennar Florida Holdings, Inc., 645 So.2d 490, 494 (Fla. 3d DCA
1994) (“Where damages sought in tort are the same as those for breach of contract a plaintiff
may not circumvent the contractual relationship by bringing an action in tort.””); Huie v. Dent &
Cook, P.A., 635 So.2d 111, 113 (Fla. 2d DCA 1994) ([A] fraud claim may not be pursued if its
damages merely duplicate the damages recoverable for breach of a related contract.”). Counts II
& {Il are properly dismissed in this case because the compensatory damages sought by Plaintiff
in connection with his fraud claims are identical to, and duplicative of, the damages sought in
Count I of the Complaint for breach of contract.

I. Counts IV Of The Complaint Must Be Dismissed Because It Fails To Properly State
A Claim For Conversion Under Florida Law

A conversion occurs when a person who has a right to possession of property demands its
return and the demand is not honored. See Ginsberg v. Lennar Florida Holdings, Inc., 645 So.2d
490, 500 (Fla. 3d DCA 1994) (quoting Shelby Mutual Ins. v. Crain Press, 481 So.2d 501, 503

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(Fla. 2d DCA 1985)); Senfeld v. Bank of Nova Scotia Trust Co., 450 So.2d 1157, 1161 (Fla. 3d
DCA 1984). Although Matinezo alleges in the Complaint that Mirage Yacht converted a
$28,035 check purportedly advanced by Matienzo by using the funds other than for the specific
purpose for which they were advanced, nowhere in the Complaint does Matienzo allege that he
ever demanded that Defendant return the proceeds in question, or that Defendant failed to
comply with his demand. “[D]emand is an essential element in any claim for conversion and the
failure to make such a demand or [affirmatively] allege the futility of doing so is fatal [to a
conversion claim].” Ginsberg, 645 So.2d at 500; see also Douglas v. Brahan Porsche Audi, Inc.,
451 So.2d 1038, 1039 (Fla. 3d DCA 1984) (“The claim for conversion [of the deposit] fails as a
matter of law [because] [t]here was never a demand for return of the deposit....”).
WHEREFORE, Plaintiff Mirage Yacht respectfully requests that this Honorable Court
enter an Order dismissing Counts II-IV of the Complaint and awarding any such further relief as
the Court deems just and proper.
CERTIFICATE OF SERVICE
I HEREBY CERTIFY that a true and correct copy of the foregoing was served this [2th

day of August, 2010 via facsimile and U.S. mail on Scott A. Wagner, Esq., Moore & Co., P.A.,
355 Alhambra Circle, Suite 1100, Coral Gales, Florida 33134.

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